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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BEVERLY KIRKPATRICK MCGOWAN                      §
and MARK MCGOWAN,                                §
     Plaintiffs,                                 §
v.                                               § No. 3:15-CV-3155-M (BF)
DITECH FINANCIAL, LLC,                           §
     Defendant.                                  §

              ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         The Court has under consideration the Findings, Conclusions, and Recommendation of

United States Magistrate Judge Paul D. Stickney. The Court reviewed the Findings, Conclusions,

and Recommendation for plain error. Finding none, the Court accepts the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge.

         IT IS THEREFORE ORDERED that Defendant's Partial Motion to Dismiss [ECFNo. 8]

is GRANTED IN PART, and Plaintiffs' Third Cause of Action: Breach of Implied Covenant of

Good Faith and Fair Dealing is DISMISSED WITHOUT PREJUDICE at this time. Plaintiffs have

21 days from the date of this order to file an amended complaint. Should Plaintiffs fail to file an

amended complaint within 21 days, Plaintiffs' Third Cause of Action: Breach ofimplied Covenant

of Good Faith and Fair Dealing will be dismissed WITH PREJUDICE.

         SO ORDERED this _!1 day of July, 2016.
